Case 1:25-cv-11048   Document 1-5   Filed 04/21/25   Page 1 of 5




                     EXHIBIT E
4/7/25, 7:53 PM           Case
                       Office      1:25-cv-11048
                              of Public                         Document
                                        Affairs | Federal Task Force to Combat 1-5      Filed
                                                                               Antisemitism    04/21/25
                                                                                            Announces Visits to 10Page
                                                                                                                   College2 of 5 that Experienced Inci…
                                                                                                                          Campuses




    PRESS RELEASE



    Federal Task Force to Combat
    Antisemitism Announces Visits to 10
    College Campuses that Experienced
    Incidents of Antisemitism

    Friday, February 28, 2025                                                       For Immediate Release

                                                                                    Office of Public Affairs




    The Federal Task Force to Combat Anti-Semitism announced that it will be visiting 10 university
    campuses that have experienced antisemitic incidents since October 2023. Created pursuant to
    President Trump’s Executive Order on Additional Measures to Combat Anti-Semitism, the Task
    Force set as its first priority to eradicate antisemitic harassment in schools and on college
    campuses.

    Leading Task Force member and Senior Counsel to the Assistant Attorney General for Civil Rights
    Leo Terrell informed the 10 universities yesterday that the Task Force was aware of allegations that
    the schools may have failed to protect Jewish students and faculty members from unlawful
    discrimination, in potential violation of federal law. Mr. Terrell said he intends for the Task Force to
    meet with university leadership, impacted students and staff, local law enforcement, and
    community members as it gathers information about these incidents and considers whether
    remedial action is warranted.

    “The President, Attorney General Pamela Bondi, and the entire Administration are committed to
    ensuring that no one should feel unsafe or unwelcome on campus because of their religion,” said
    Mr. Terrell. “The Task Force’s mandate is to bring the full force of the federal government to bear in


https://www.justice.gov/opa/pr/federal-task-force-combat-antisemitism-announces-visits-10-college-campuses-experienced                              1/4
4/7/25, 7:53 PM           Case
                       Office      1:25-cv-11048
                              of Public                         Document
                                        Affairs | Federal Task Force to Combat 1-5      Filed
                                                                               Antisemitism    04/21/25
                                                                                            Announces Visits to 10Page
                                                                                                                   College3 of 5 that Experienced Inci…
                                                                                                                          Campuses

    our effort to eradicate Anti-Semitism, particularly in schools. These visits are just one of many
    steps this Administration is taking to deliver on that commitment.”

    The 10 universities identified by the Task Force are: Columbia University; George Washington
    University; Harvard University; Johns Hopkins University; New York University; Northwestern
    University; the University of California, Los Angeles; the University of California, Berkeley; the
    University of Minnesota; and the University of Southern California.

    If you have been discriminated against, you can file a complaint with the Civil Rights Division at
    civilrights.justice.gov. President Trump’s Executive Order can be found at
    www.whitehouse.gov/presidential-actions/2025/01/additional-measures-to-combat-anti-
    semitism/.

    Updated February 28, 2025




    Topic

         CIVIL RIGHTS




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4/7/25, 7:53 PM           Case
                       Office      1:25-cv-11048
                              of Public                         Document
                                        Affairs | Federal Task Force to Combat 1-5      Filed
                                                                               Antisemitism    04/21/25
                                                                                            Announces Visits to 10Page
                                                                                                                   College4 of 5 that Experienced Inci…
                                                                                                                          Campuses



         PRESS RELEASE

         Arizona Man Convicted of Crimes Arising Out of Plot Targeting Christian
         Churches

         After an 11-day trial, a federal jury returned a guilty verdict yesterday against Zimnako Salah, 45,
         of Phoenix, Arizona, convicting him of strapping a backpack around the toilet of a...



         April 4, 2025




         PRESS RELEASE

         U.S. Department of Justice Announces Second Amendment Pattern-or-
         Practice Investigation into California’s Los Angeles County

         Protecting the Second Amendment rights of ordinary, law-abiding Americans is a high priority for
         this Administration.



         March 27, 2025




         PRESS RELEASE

         Mississippi Man Indicted for Federal Civil Rights and Arson Charges for
         Setting Fire to Mormon Church

         A federal grand jury in Gulfport, Mississippi, returned a six-count superseding indictment today
         charging Stefan Day, also known as Stefan Pete Day Rowold, with federal civil rights and arson
         violations...



         March 19, 2025




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4/7/25, 7:53 PM           Case
                       Office      1:25-cv-11048
                              of Public                         Document
                                        Affairs | Federal Task Force to Combat 1-5      Filed
                                                                               Antisemitism    04/21/25
                                                                                            Announces Visits to 10Page
                                                                                                                   College5 of 5 that Experienced Inci…
                                                                                                                          Campuses

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